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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

UNITED STATES OF AMERICA                              §
                                                      §
V.                                                    §           CRIMINAL NO. H-04-442
                                                      §
OM AR ROBERTO FAHIE                                   §

                              ORDER OF DETENTION PENDING TRIAL

        In accordance with the Bail Reform A ct, 18 U.S.C. § 3142(f), the Government moved for
detention in this case. Defendant Omar Roberto Fahie waived his right to a detention hearing. That
waiver is entered in the record as Dkt. No. ___. I conclude that the following facts are established by
a preponderance of the evidence or clear and convincing evidence and require the detention of the
defendant pending trial in this case.

                                              Findings of Fact

[ ] A. Findings of Fact [18 U.S.C. § 3142(e), § 3142(f)(1)].

     [ ] (1)      The defendant has been convicted of a (federal offense) (state or local offense that
                  would have been a federal offense if a circumstance giving rise to federal jurisdiction
                  had existed) that is

                       []      a crime of violence as defined in 18 U.S.C. § 3156(a)(4).

                       []      an offense for which the maximum sentence is life imprisonment or death.

                       []      an offense for which a maximum term of imprisonment of ten years or
                               more is prescribed in 21 U.S.C. ( ) § 801 et seq. ( ) § 951 et seq.
                               ( ) § 955(a).

                       []      a felony that was committed after the defendant had been convicted of two
                               or more prior federal offenses described in 18 U.S.C. § 3142(f)(1)
                               (A)-(C), or comparable state or local offenses.

           [ ] (2) The offense described in finding 1 was committed while the defendant was on release
                   pending trial for a federal, state or local offense.

           [ ] (3) A period of not more than five years has elapsed since the (date of conviction) (release
                   of the defendant from imprisonment) for the offense described in finding 1.

           [ ] (4) Findings Nos. 1, 2, and 3 establish a rebuttable presumption that no condition or
                   combination of conditions will reasonably assure the safety of any other person and the
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                 community. I further find that the defendant has not rebutted this presumption.

[]     B.        Findings of Fact [18 U.S.C. § 3142(e)]

       [ ] (1) There is probable cause to believe that the defendant has committed an offense

                     []      for which a maximum term of imprisonment of ten years or more is
                             prescribed in 21 U.S.C.
                             ( ) § 801 et seq. ( ) § 951 et seq. ( ) § 955(a).

                     []      under 18 U.S.C. § 924(c).

       [ ] (2) The defendant has not rebutted the presumption established by finding 1 that no
               condition or combination of conditions will reasonably assure the appearance of the
               defendant as required and the safety of the community.

[X]    C.        Findings of Fact [18 U.S.C. § 3142(f)(2)]

       [ X] (1)Defendant Fahie is accused of possession with intent to distribute, and conspiring to
               possess with intent to distribute, hydrocodone, a schedule III controlled substance, in
               violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(D), and 846 and 18 U.S.C. § 2.

       [X] (2) There is a serious risk that the defendant will flee.

       [X] (3) Defendant represents a danger to the community.

       [ ] (4) There is a serious risk that the defendant will (obstruct or attempt to obstruct justice)
               (threaten, injure, or intimidate a prospective witness or juror, or attempt to do so).

[X]    D.        Findings of Fact [18 U.S.C. § 3142(c)]

       [ ] (1) As a condition of release of the defendant, bond was set as follows:

       [ ] (2)

       [X] (3)       I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                     § 3142(c) which will reasonably assure the appearance of the defendant as
                     required.

       [ ] (4)

       [X] (5)       I find that there is no condition or combination of conditions set forth in 18 U.S.C.
                     § 3142(c) which will reasonably assure the safety of any other person or the
                     community.



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                             Written Statement of Reasons for Detention

       I find that the accusations in the indictment and the pretrial services report establish by a
preponderance of the evidence that no condition or combination of conditions will reasonably assure
the appearance of the defendant as required and by clear and convincing evidence that the defendant
represents a danger to the community.

        I conclude that the following factors specified in 18 U.S.C. § 3142(g) are present and are to
be taken into account:

        1.      Defendant Fahie is a 24 year old citizen of the United States. Defendant is currently
                in the custody of the Harris County Jail, 1301 Franklin, Houston, Texas 77002, having
                been charged with the crimes of manufacture/delivery of a controlled substance and
                driving with a suspended license. He also is facing a possible revocation of his
                probation by Fort Bend County.

        2.      Defendant Fahie has been charged in a Second Superseding Indictment in this case
                with possession with intent to distribute, and conspiracy to possess with intent to
                distribute, hydrocodone, a Schedule III substance.

        3.      Defendant Fahie has a history of illegal drug use, prior felony and misdemeanor
                convictions for possession of illegal drugs, and a misdemeanor conviction for assault.

        4.      There is no condition or combination of conditions of release which would assure the
                appearance of the defendant or the safety of the community. Detention is ordered.

                                    Directions Regarding Detention

        It is therefore ORDERED that the defendant is committed to the custody of the Attorney
General or his designated representative for confinement in a corrections facility separate, to the extent
practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel.
On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility shall deliver the defendant to the United States Marshal for the
purpose of an appearance in connection with all court proceedings.

        Signed at Houston, Texas this 24th day of June, 2005.




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